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                  Report on Eyewitness Identification Issues Identified in
                          Dalonte White v. City of Cleveland et al.
                        Prepared for The Chandra Law Firm, LLC.
                                     January 19, 2020

                                  Purpose of the Report

I was asked by Ms. Sandyha Gupta, Esq. and Mr. Brian Bardwell, Esq. to review relevant
case materials and prepare a report on the psychological research on eyewitness
identification that is relevant to understanding whether the police followed best practices
in eliciting identifications of Dalonte White in their investigation of the armed robbery of
Colleen Allums and the likely reliability of the eyewitness identifications of him.

                                        Credentials

I have a B.A. in Psychology (with departmental honors) from Northwestern University and
a Ph.D. in Social Psychology from the University of Minnesota. I have been on the faculties
of Reed College and Florida International University (FIU). Currently, I am a Presidential
Scholar and full Professor of Psychology at John Jay College of the City University of New
York (CUNY), with appointments in the Psychology and Law, Basic and Applied Social
Psychology, and Criminal Justice Ph.D. programs at the CUNY Graduate Center. I have
served as the Director of the Psychology and Law Ph.D. programs at both FIU and at CUNY.
I have published over 80 papers (articles and chapters) and several books in the area of
eyewitness identification and legal decision making. The National Science Foundation has
funded much of this research, with over $2 million in grant funding received to date. I am a
Fellow of the American Psychological Association, the Association for Psychological
Science, the American Psychology-Law Society (APLS), the Society for Experimental Social
Psychology, the Society for Personality and Social Psychology, and the Society for the
Psychological Study of Social Issues. I have received awards from APLS, recognizing me for
my outstanding research and teaching.

I am a past-president of the American Psychology-Law Society, an interdisciplinary
organization of psychologists and lawyers whose members are devoted to scholarship,
practice, and public service in psychology and law. I also served seven years as the Editor-
in-Chief (and an additional seven years as Associate Editor) of the journal Law and Human
Behavior, which is a peer-reviewed publication and the premier outlet for eyewitness

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identification research. As Editor, I was responsible for guiding the peer review process for
the most influential journal in psychology and law, determining which papers meet our
very high standards for scientific rigor and which do not. I keep current on the research
being done in the area by conducting my own research (which includes reading others’
papers on the topic), serving as an editor and reviewer of many eyewitness papers,
attending conference presentations on the topic, and by teaching at the undergraduate and
graduate levels on eyewitness issues. I have been qualified as an expert on a variety of
social science and law issues (mostly eyewitness issues) in federal and state venues,
including Connecticut, Florida, Illinois, Indiana, Iowa, Maryland, New York, South Carolina,
Texas, the District of Columbia, the Eastern District of New York, the District of
Massachusetts, and the Canadian province of Ontario.

I am also a co-author on the paper “Policy and procedure recommendations for the
collection and preservation of eyewitness identification evidence”, recently published in
the journal Law and Human Behavior. This paper was commissioned by the Executive
Committee of the American Psychology-Law Society to provide a review of the scientific
evidence examining the reliability of different procedures to elicit eyewitness identification
evidence and come to conclusions about evidence-based recommendations for best
practices. The Executive Committee selected six internationally-recognized eyewitness
scholars to conduct this review, of which I was one. The paper has undergone multiple
rounds of public presentation and comment, two separate peer review processes, and final
acceptance by the Executive Committee of APLS before it was accepted for publication at
Law and Human Behavior. Thus, it represents generally accepted beliefs about best
practices in eliciting eyewitness identification evidence.


                                    Materials Reviewed

This report is based on information learned from police reports, photo array documents,
and depositions provided to me by the defense.

                                       Case Synopsis

On 4/21/15, Colleen Allums was inside her home with her daughter, Savannah LaForce,
when her nephew Zachary Hale entered through the front door with two Black and one
Hispanic men behind him. One of the Black men, who was wearing a black jacket and was
described as 5’5”, 160-170 lbs, and having dreadlocks sticking up, approached her, struck
her head with a gun and demanded her money. The man continued to strike her in the
head while she reached for her gun. Zachary and Savanna ran from the house when the
shooting started. Ms. Allums reported losing consciousness and when she awoke, she
discovered that her gun and her cell phone were missing, her dog had been shot, and the
culprits had left. Surveillance video was collected from a neighbor’s house. The video
showed a Black man with dreadlocks wearing a dark North Face jacket, dark pants, and
white shows limping and concealing a weapon in his waistband.




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On 4/23/15, blind administrators showed 3 photo arrays to 2 witnesses. One of those
photo arrays contained a photo of Dalonte White with 5 fillers with hair styles that were
inconsistent with the Allums’s report and evidence from the surveillance video that the
suspect had dreadlocks. Only Mr. White could be reasonably construed as having a
hairstyle that could be described as dreadlocks that were sticking up. Savannah LaForce
positively identified Mr. White as the shooter with 100% certainty, but was unable to
identify any one else in the other lineups. Zachary Hale also identified Mr. White but with
only 70% certainty. On 4/24/15, a blind administrator showed the three photo lineups to
Ms. Allums, who was still in the hospital. She identified Mr. White with 100% certainty.


                                     Issues Identified

After reviewing the materials this case, I identified the following issues that increase the
likelihood that identifications made under the same circumstances would be unreliable.
There were features of the procedures used by the police to elicit the identification that
violate evidence-based best practice recommendations because they are known to increase
the risk of misidentification. (1) The lineup composition was biased (the defendant is the
only lineup member with braids—as opposed to an afro—and the perpetrator was
described as having a similar non-afro hair style). Biased lineup composition not only
increases mistaken identifications, it also inflates witness confidence in the accuracy of
their identification. Moreover, (2) the police officers did not have an articulable reason—
based on evidence that linked the defendant to this specific crime—to place him in an
identification procedure. A lack of an articulable, evidence-based reason for placing
suspects in identification procedures results in a low base rate of guilty (vs. innocent)
suspects. In addition, there were several characteristics of the witnessing conditions that
are known to impair the ability of witnesses to encode culprit’s faces, namely (3) stress and
(4) the use of a weapon in the commission of the crime (weapon focus), (5) multiple
perpetrators, which divides witnesses’ attention among the perpetrators, and (6) the
witness’s poor opportunity to view the perpetrator given the time spent viewing a face—
known as exposure duration— which also affects the ability to encode a face. (7) The
identification was cross-racial: the witness was Hispanic and the defendant was black. For
each of these variables, a substantial body of literature has emerged in recent years, which
demonstrates the role that these variables play in decreasing the reliability of eyewitness
identification evidence.

  The Predominant Form of Defective Evidence in DNA Exonerations Is Eyewitness
                                 Identification

The prominence of mistaken identifications as a source of erroneous convictions has been
reaffirmed by the results of exonerations based on DNA evidence. By 1998, post-conviction
DNA testing had freed 62 persons in the United States convicted by juries of crimes that
they did not commit—8 of whom were on death row. In Scheck et al.'s (2000) analysis of
the first 62 DNA exoneration cases, 52 were mistaken eyewitness identification cases with
a total of 77 mistaken eyewitnesses. Thus, sometimes more than one witness had
mistakenly identified the defendants (Kirk Bloodsworth was mistakenly identified by 5


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separate witnesses!). In the current Innocence Project database, 32% of the cases that
involved mistaken identifications contained identifications of the same innocent suspect by
multiple witnesses (https://www.innocenceproject.org/dna-exonerations-in-the-united-
states/). University of Virginia law professor Brandon L. Garrett’s (2008) systematic
examination of the first-200 DNA exculpation cases demonstrated that the leading cause of
the wrongful convictions was erroneous eyewitness identification, which occurred in 79
percent of the cases. In a quarter of the cases, eyewitness testimony was the only direct
evidence against the defendant.

                  Scientific Basis of Research Underlying My Analysis

The research on which my analysis is based has been conducted using the scientific
method, either experiments testing how factors influence eyewitness accuracy or meta-
analyses of these experiments. Experiments are the primary method used by scientists
(whether they are physicists, chemists, biologists, or psychologists) to isolate the causal
effects of one variable upon another. Eyewitness researchers conduct experiments in
which they vary a set of variables that they think may affect witness accuracy and observe
whether these variables do indeed change witnesses’ identification decisions. The
scientific method involves generating hypotheses (identifying variables that you think will
influence eyewitness accuracy), testing those hypotheses (by conducting experiments in
which you vary the variables you predict to influence witness accuracy while holding
others constant), collecting data to observe the effect of the manipulated variables,
analyzing the data, and evaluating whether the hypotheses were supported.
When enough experiments have been conducted, it is possible to statistically combine the
data across studies into a single meta-analysis, which provides an estimate of the size of a
variable’s effect across experiments that likely varied in a variety of ways (e.g.,
perpetrators, lineup pictures, witnessed events). Those effect size estimates give us a more
accurate picture of how much a variable influences eyewitness accuracy than can be
achieved merely by counting the number of studies that found an effect and those that did
not because whether an effect is found is in part determined by the number of participants
in a study. Sometimes effects are not found in a given study because there were too few
participants for an effect that was truly there to become statistically significant. By
combining the data across all the studies testing a particular research question, we can
derive stable estimates of how much of an effect a given variable might have.

Does this research meet the scientific standards required by the courts? One can address
this question from multiple perspectives. Under the traditional Frye standard, the relevant
question would be whether the testimony is generally accepted within the relevant
scientific community. Under the Federal Rules of Evidence and Daubert considerations
such as whether: (a) the expert is qualified; (b) the testimony assists the trier of fact; (c)
the expert's testimony is sufficiently reliable, and (d) the materials about which the expert
testifies are the product of the scientific method (including falsifiable theories, peer-
review).

Virtually all of the empirical eyewitness research conducted by psychologists makes use of
standard experimental methods employed in all the experimental sciences. Use of


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appropriate research methods is an essential requirement for publication in peer-reviewed
scientific journals across all scientific disciplines and psychology is no exception. The
results and conclusions summarized below are the products of precisely the methods
underscored by the Supreme Court in Daubert and are generally accepted in the relevant
scientific community as required by Frye.

Eyewitness Identifications are Unreliable

    Face Recognition is Far from Perfect Even Under Optimal Testing Conditions.
Megreya and Burton (2008) conducted a study in which participants were shown a live
person for 30 seconds and were then tested, from memory, on a 10-person photoarray.
When the target was in the array, 70% of the participants identified him and 10% of the
participants identified someone else from the array. When the target was not in the array,
20.5% misidentified someone else from the array. When participants were shown the live
person and the photoarray together (a matching task rather than a recognition memory
test), 66.9% of the participants identified the target but 15% of the participants identified
someone else (even when the target person was standing before them when they were
choosing from the photo array!). When the target was not in the array, 37.8% misidentified
someone else, again, even though they could view the live target person as they were
selecting a photo.

   Field Experiments Show High Rates of Witness Identification Errors. Realistic field
studies of eyewitness identification provide relevant data about the accuracy rates of actual
eyewitness identifications. Across several studies, the average correct identification rate
from presentations which included the target person was 41.8%. Thus, nearly 60% of
witnesses failed to identify the target when he was present. Unfortunately, the false
identification rate of innocent foils was nearly as high as the rate of guilty-target
identifications (35.8%). In short, identification errors were frequent (Valentine, 2008).

     Archival Studies of Real Witness Performance Show High Rates of Identification
Errors. Similarly, studies of actual witnesses reveal low accuracy rates from actual
eyewitness identifications. In these studies, it is not known whether the suspect is the
actual perpetrator, but it is still possible to gauge the rate of inaccurate identifications of
fillers (i.e., the known-innocents placed in arrays along with the suspects). The results from
nearly 17,000 actual eyewitnesses showed that nearly 40% of positive identifications were
identifications of an innocent filler, which underscores that many witnesses are willing to
guess and consequently they make errors at a high rate (e.g., Valentine, 2008).

Aspects of the Identification Procedures in the Present Case that Affect Identification
                                      Accuracy

Eyewitness identifications take place in a social context in which the eyewitness's
performance can be influenced by his or her expectations and inferences, which in turn can
be influenced by the verbal and nonverbal behaviors of investigators, the structure of the
identification test and the environment in which the identification test is conducted.
Suggestive procedures are aspects of the identification test that are under the control of


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police investigators and that enhance the likelihood that an eyewitness will choose
someone—whether that choice is correct or not.

Lineup Composition. In this case, the defendant was the only member of the lineup who
had hair that could be a reasonable match to the description that the witnesses provided of
the gunman. Thus, the lineup violated best practices for lineup composition because the
defendant stands out from the other lineup members because of this unique feature (NAS,
2014; Wells, Kovera, Douglass, Brewer, Meissner, & Wixted, 2020). The term "functional
size" (Lindsay & Wells, 1980) refers to the number of viable lineup members, or the
number of lineup members who plausibly match the eyewitness's description of the crime
perpetrator. The quality and the number of foils in an array clearly influence the fairness of
the array as reflected in the tendency for witnesses to make identifications, particularly
mistaken identifications. Studies of actual arrays show that suspects are picked 2 to 3 times
the rates one would expect from a fair array (Brigham et al. 1990; Brigham et al. 1999;
Wells & Bradfield, 1999).

There are two primary strategies for selecting fillers for lineups. The match-to-suspect
strategy involves choosing fillers who have features that are similar to the features of the
suspect the police have in custody. The match-to-culprit description strategy involves
choosing fillers who share the features of the culprit that the witness mentioned in his or
her description of the culprit, but who vary on other features (Luus & Wells, 1991). For
example, if the witness's description of the culprit mentioned that the culprit was in his
mid-20's, around 6 feet tall, with a large build, light brown hair with a reddish-tint, and
tanned skin, then all the fillers should share these features. To test whether different
methods of selecting foils influenced the accuracy of lineup identifications, researchers
constructed a new lineup for each participant witness, manipulating which foil selection
strategy was used (Wells, Rydell, & Seelau, 1993). When foils are selected by matching to
description rather than suspects, witnesses were more likely to make a correct
identification from a target-present lineup, without increasing the rate of false
identifications in target-absent lineups.

A meta-analysis of 17 independent studies with 6,650 participants that compared
performance on arrays with high, moderate and low similarities among suspects and fillers
found that the rate of misidentifications of innocent suspects doubled when lineups
contained fillers with low similarity to the suspect as opposed to moderate or high
similarity (Fitzgerald et al., 2013). The authors concluded that the suspect should not stand
out from the other lineup members, as recommended by several guidelines for best
practice, including those issued by the National Institute of Justice (Technical Working
Group on Eyewitness Evidence, 1999), the National Academy of Sciences (2014), and the
American Psychology-Law Society (Wells et al., 2020). The inclusion of dissimilar fillers in
a lineup also increases witness confidence in their identifications of suspects (Charman,
Wells, & Joy, 2011).
Evidence-Based Suspicion and the Problem of Low Base Rates of Suspect Guilt.
Conducting lineups without evidence-based reasons for suspicion increases the likelihood
of mistaken identification. Thus, best practice is for the police to have evidence linking a


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suspect to the specific crime under investigation before placing him in an identification
procedure (Wells et al., 2020). Specifically, placing an individual in an identification
procedure in the absence of evidence that the individual is likely to be the perpetrator of
the specific crime under investigation increases the likelihood that there will be a high base
rate of culprit-absent lineups, and consequently a higher rate of mistaken identifications
(Wells, Yang, & Smalarz, 2015). In the case of lineups, the base rate refers to the percentage
of lineups in which the suspect in the lineup is guilty versus innocent.

To explain the importance of base rates in diagnostic testing, consider medical practices for
testing for prostate cancer. Typically, doctors do not order tests of a man’s prostate-
specific antigen (PSA) levels unless a man is over 50 and rarely order a PSA test for men
under 30 unless there is a very specific reason to suspect that they have prostate cancer.
The difference in testing practices for men under 30 and over 50 has nothing to do with the
changing accuracy of PSA tests at different ages. The PSA test is just as accurate for men
under 30 and men over 50. The difference is that if a man under 30 has a positive PSA test
it is almost always a false positive result because the prevalence of prostate cancer in men
under 30 is almost zero. Because the base rate of prostate cancer is so low in men under
30, a positive PSA result in that population is almost always a mistaken indicator of
prostate cancer. Similarly, if the base rate of guilty suspects in identifications is low
because police officers place suspects in lineups without adequate evidence linking them to
the specific crime under investigation, they do so at the risk of inflating the rate of mistaken
identifications.

Consider the evidence that Commander Connelly testified was the basis for placing Mr.
White in an identification procedure. Mr. White had a violent history but so did a multitude
of others in the city. Moreover, this history did not include a history of crimes with a
similar modus operandi, which would have provided a link to this specific crime if he had. In
the absence of that similarity, Mr. White’s violent history does not link him to this specific
crime. Mr. White was a member of a local gang. Again, so are many others and this
information does not link him to the specific crime being investigated. There was a report
that Mr. White had been threatening the witnesses in this case but there was no
documentation that the reliability of that complaint was investigated, again providing at
best a tenuous link to the crime. He lived near the location of the crime but so do many
others and this information does not provide a connection to the specific crime (e.g., he
wasn’t identified as being near the house at the time of the crime). Mr. White owned a
North Face jacket, as did the perpetrator and thousands of other people in the city. This
information does not establish a link between Mr. White and the crime to the exclusion of
others. Overall, the police increased the likelihood of conducting a culprit-absent lineup by
placing Mr. White into an identification procedure without evidence linking him
specifically, and to the exclusion of others, to the specific crime under investigation. A high
base-rate of culprit-absent lineups increases the likelihood of mistaken identifications.

In contrast, the police had much stronger evidence to place Edward Bunch in an
identification procedure. He matched the description provided by the witnesses. The
gunman was seen on surveillance video leaving the scene of the crime with a limp. EB was
treated at the hospital for a gunshot wound to his leg a half an hour after the crime was


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committed. He had committed a crime with a modus operandi that matched the crime
under investigation. All of this evidence linking Bunch to the crime supported his inclusion
in an identification procedure.

  Witnessing and Crime Factors in the Present Case that Influence the Accuracy of
                                 Identifications

Stress. The culprit was witnessed under stressful conditions (e.g., while in the midst of
shots being fired). Deffenbacher and his colleagues (2004) conducted a meta-analysis of 27
tests of the effects of heightened stress on identification accuracy, including work
published between 1974 and 1997, with a total of 1,727 participants. The mean
proportions correct for culprit-present lineups under high and low stress conditions were
.39 and .59, respectively (with mistaken identification rates of 34% and 19% respectively).
The effect of stress was larger for culprit-present than for culprit-absent lineups—that is,
stress particularly reduced correct identification rates. The effect was twice as large for
eyewitness-identification studies that simulated eyewitness conditions (e.g., staged crimes)
than for studies that induced stress in other ways.

These effects are confirmed and extended in a study by Morgan et al. (2004) who examined
the eyewitness capabilities of more than 500 active-duty military personnel enrolled in a
survival-school program. Participants experienced both a high stress interrogation with
real physical confrontation and a low-stress interrogation without physical confrontation.
Both interrogations were 40 minutes long and were conducted by different persons. A day
after release from the camp, the participants were tested on their ability to recognize the
interrogators—recognition accuracy for the low-stress interrogators was as high as 76%
but for high-stress interrogators it was as low as 27%.

A confirmation of these findings comes from a study conducted in the “Horror Labyrinth” of
the London Dungeon tourist attraction. Tourists encountered a “scary person” while
slowly walking around the labyrinth for approximately 7 minutes (Valentine & Mesout,
2009). About 45 minutes later, after they completed their tour, they were tested to see if
they could identify the scary person from a nine-person photo-array. Participants were
divided into two groups reflecting the 50% with the highest reported anxiety produced by
the event and the 50% with the lowest scores. Seventy-five percent of the witnesses
experiencing lower anxiety were able to identify the scary person/culprit but only 18% of
those with higher anxiety were able to do so.

Weapon Focus. The perpetrator of this crime was brandishing a weapon during the crime.
When a weapon is present during a crime, witnesses divide their attention between the
weapon and the perpetrator’s face. Weapon focus refers to the attention witnesses give to
a perpetrator’s weapon during a crime. It is expected that the attention the witness focuses
on a weapon will reduce their ability to later recognize the perpetrator because the witness
will be spending less attention to the perpetrator’s face than would be the case if the
weapon were not present.




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Researchers have assessed eyewitness accuracy in an attempt to assess the effects of
weapon-focus effects on memory; Steblay (1992) reviewed the relevant studies were
reviewed using meta-analytic methods. The meta-analysis included 19 studies with a total
sample of 2,082 participants. The weapon-focus effect on identifications was statistically
significant. A recent dissertation study by one of our students at John Jay College (an active
duty Connecticut police chief) DeCarlo (2010) illustrates the effect. DeCarlo used a
videotaped robbery and found that in a no weapon condition, witnesses were able to
correctly identify the target 78% of the time. Accuracy dropped to 55% when a weapon
was implied (i.e., the perpetrator waving his hands around in his pocket); accuracy
dropped to 33% when a weapon was actually shown. When the perpetrator was absent
from the lineup the correct rejection was 89% for the no weapon condition, but when a
weapon was implied, accuracy dropped to 76% and when a weapon was actually shown,
correct rejections dropped to 65%. A new meta-analysis (Fawcett, et al., 2013) confirms
these conclusions using data from 47 comparisons and further notes that the size of the
effects was “unaffected by whether the event occurred in a laboratory, simulation, or real-
world environment.”

Multiple Perpetrators. The witnesses reported that three strangers entered their home
to commit the robbery. Just as a weapon can divide the attention of witnesses, multiple
perpetrators can divide their attention as well. Identification accuracy declines as the
number of perpetrators increases (Clifford & Hollin, 1981; Fahsing, Ask, & Granhag, 2004;
Megreya & Burton, 2006). This impairment was clearly illustrated in the dissertation
research by John Jay student DeCarlo (2010). He showed witnesses a videotaped robbery
involving one or two perpetrators. When the perpetrator was present in the lineup, the
single perpetrator condition produced a correct identification rate of 55% versus 33% in
the multiple perpetrator condition. In the two-perpetrator condition, 82% of witnesses
correctly rejected perpetrator-absent arrays versus 92% in the single perpetrator
condition. In another study comparing the performance of witnesses seeing one or two
perpetrators, when the perpetrator was present in an array witnesses made fewer correct
identifications (29%) and more incorrect decisions (71%) for the two-perpetrator
condition than the single-perpetrator condition (54% and 46%, respectively; Megreya &
Bindeman, 2012). Over a third of witnesses made misidentifications from perpetrator-
absent arrays. The authors note (p. 448): “the double-perpetrator disadvantage is not
simply due to a difficulty in separating the facial characteristics of two people that are
encountered simultaneously, which therefore cannot be encoded and stored accurately
(see Palermo & Rhodes, 2002). Instead, we suggest that this effect might reflect the need to
divide attention between two concurrent culprits, which limits the depth or detail of the
stored descriptions that can be formed for these persons (see Fahsing et al., 2004).”

Exposure Duration. The crime unfolded quickly and two of the witnesses reported fleeing
as the initial shots were fired. The time available for viewing a perpetrator is positively
associated with the witness's ability to subsequently identify him. Shapiro and Penrod's
(1986) meta-analysis of more than 100 experiments showed that exposure time was a
reliable predictor of accuracy. Similarly, a recent meta-analysis demonstrated that the
effect of exposure time on eyewitness identification accuracy was moderate to large (d =



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0.63), with witness accuracy greater for longer than for shorter exposures (Bornstein,
Deffenbacher, McGorty, & Penrod, 2012).

However, it should be noted that even a long exposure is no guarantee of accuracy—when
researchers tested the memory of soldiers participating in a mock POW training exercise as
a part of survival training school for their interrogators, the soldiers had been interrogated
for 40 minutes and yet the rate of correct identifications among high-stress soldiers ranged
from only 27 to 49% when targets were present. Foil identification rates approached 50%
using standard lineups and photospreads (Morgan et al., 2004). Thus, even under long
exposure times, witness identifications can be quite unreliable.

In this case, as is often the case, we have to rely on the estimates of the witnesses for the
length of their exposure to the perpetrator. However, relying on witness estimates of
exposure duration can be problematic. In his 2000 study, Yarmey found that witnesses to
non-routine events were, on average, overestimated by between 25% (for an event lasting
13 minutes) and more than 100% (events lasting 24 seconds or less). An event lasting 46
seconds was overestimated by 67% and events lasting one minute 20 seconds and two
minutes 58 seconds were over-estimated by 40%.

Own Race Bias in Cross-Racial Identifications. The witnesses in this case are White and
Mr. White is Black. Research on cross-race identification impairment began forty years ago
and has included various mixes of Caucasian, Asian, Hispanic, Black, and middle-eastern
witnesses. Meissner and Brigham (2001) have reviewed research on the problems of what
interchangeably has been called other-race or cross-race identifications or own-race bias
(ORB). Meissner and Brigham analyzed data from 39 research articles, with 91
independent samples involving nearly 5,000 witness participants. They examined
measures of correct identifications and false alarm rates, as well as aggregate measures of
discrimination accuracy and response criterion. Overall, they reported that when the
perpetrator is present, the ratio of correct to incorrect identifications was 40% higher for
same-race identifications. The ratio of mistaken identifications to correct rejections in
target-absent arrays was 56% greater for other-race identifications. Overall, the ratio of
correct to incorrect identifications was more than 2.2 greater for own-race faces as
compared with performance on other-race faces.

                       Witness Confidence and Witness Accuracy

Witnesses are Over-Confident. Witnesses are overly-confident in the accuracy of their
identifications. In one study, eyewitnesses who were very confident of the accuracy of
their identifications (95% certain) were only about 70%-75% correct (Brewer, Keast, &
Rishworth, 2002). Another study reported that among witnesses who made an
identification with 90-100% confidence, 40% were inaccurate; for witnesses who were 70-
80% confident, there was a 50% error rate among those who are 70%-80% confident
(Sauer, Brewer, & Wells, 2008). A recent study involving the identification of individuals
with whom participants interacted for up to a minute showed poor calibration of accuracy
and confidence, with participants being over-confident about their accuracy (Sučić, Tokić,
& Ivešić, 2015).


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Post-Identification Confidence, if Measured Properly, is Modestly Correlated with
Accuracy. A meta-analysis of research testing whether witness identification accuracy is
associated with witness confidence revealed a confidence-accuracy correlation of .41
among those witness who made an identification from the lineup (Sporer, Penrod, Read, &
Cutler, 1995). This finding suggests that witnesses who are highly confident in their
identifications are somewhat more likely to be correct than are witnesses who display little
confidence. However, recent research suggests that high confidence is an indicator of
accuracy only when the procedures used to collect the identifications are pristine (Wixted &
Wells, 2017). Procedures are pristine if there is 1) only one suspect, 2) the lineup is not
biased toward the suspect (e.g., fillers do not cause the suspect to stand out), 3) the
witnesses are instructed that the perpetrator may not be in the photo array, 4) the
administrator does not know who the suspect is (i.e., procedure is double-blind), and 5)
witness confidence is collected immediately after the identification by a blind
administrator. These conditions were not met in this case because the eyewitness
identification was collected with a photo array that was biased toward the suspect (as
described above). Therefore, any statements of confidence now made by the witnesses are
of no evidentiary value.

                                        Conclusions

The eyewitness identification procedures used to elicit identifications of Dalonte White
violated best practices (Wells et al., 2020) and increased the likelihood that the detectives
would obtain a mistaken identification. For example, the lineup composition was
suggestive because the defendant was the only lineup member with hair that was a
reasonable match to the witnesses’ description of the gunman’s hair, causing his picture to
stand out from the others. In addition, the evidence used to support the Detective Lam’s
placement of Dalonte White into the photo array as a suspect did connect White to this
particular crime to the exclusion of many other people. Because the confidence of the
witness was not recorded at the time of the identification and the identification was not
made using recommended procedures, the witness’s stated confidence is not a reliable
indicator of the witness’s accuracy in this case.

Violating best practice is never advisable but is especially problematic when used to test
the witness memories that are likely weak. There are several features of the witnessing
conditions in this case that would interfere with the witnesses’ ability to strongly encode
the gunman’s face into memory, including the presence of a weapon, the stress of the
shootings, multiple perpetrators, the limited exposure time, and the cross-racial nature of
the identification. Because it would have been difficult for the witness to encode the
culprit’s face well under these circumstances, it increases the likelihood of an unreliable
identification. These factors are well-established in the literature and, perhaps with the
exception of multiple perpetrators, in case law.

Taken together, in my opinion, there is substantial evidence that there were factors present
in this case that would have adversely affected the witness’s ability to make a correct
identification. The police contributed to these factors by implementing a photo array that


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was biased against Mr. White and by placing Mr. White in an identification procedure
without evidence that linked Mr. White, to the exclusion of others, to this specific crime.

I declare under penalty of perjury that to the best of my ability the foregoing is true and
correct. Executed on January 19, 2020.




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                                                             Margaret Bull Kovera, Ph.D.


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